Case 3:17-cv-13735-PGS-DEA Document5 Filed 04/20/18 Page 1 of 1 PagelD: 19

UNITED STATES DISTRICT COURT

NEW JERSEY DISTRICT COURT

MUNEER MUSTAFTA TAWAM,

Plaintiff,
v.

HEALTHCARE EMPLOYEES FEDERAL
CREDIT UNION,

Defendant.

 

 

Case No. 3:17-CV-13735-PGS-DEA

PLAINTIFF’S NOTICE OF VOLUNTARY
DISMISSAL WITH PREJUDICE
PURSUANT TO FEDERAL RULE OF
CIVIL PROCEDURE 41(a)(1)(A)(i)

NOTICE IS HEREBY GIVEN that pursuant to Rule 41(a)(1)(A)(i) of the Federal

Rules of Civil Procedure, Plaintiff MUNEER MUSTAFTA TAWAM voluntarily dismisses

the above-captioned action with prejudice.

Each party shall bear its own fees and costs.

Respectfully submitted,
CLARK LAW FIRM, PC

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Dated: April 19, 2018
